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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term

                        Grand Jury Sworn in on September 15, 2023

 UNITED STATES OF AMERICA                             CRIMINAL NO. 21-cr-487

             v.                                       VIOLATIONS:
                                                      18 U.S.C. § 231(a)(3)
 NICHOLAS L. KENNEDY,                                 (Civil Disorder)
 also known as "Nick,"                                18 U.S.C. §§ 1512(c)(2), 2
                                                      (Obstruction of an Official Proceeding) 18
                   Defendant.                         U.S.C. § 1752(a)(l)
                                                      (Entering and Remaining in a Restricted
                                                      Building or Grounds)
                                                      18 U.S.C. § 1752(a)(2)
                                                      (Disorderly and Disruptive Conduct in a
                                                      Restricted Building or Grounds)
                                                      40 U.S.C. § 5104(e)(2)(D)
                                                      (Disorderly Conduct in
                                                      a Capitol Building)
                                                      40 U.S.C. § 5104(e)(2)(G)
                                                      (Parading,Demonstrating, orPicketing in
                                                      a Capitol Building)
                                                      18 U.S.C. § 1512(c)(l)
                                                      (Tampering with Records, Documents, or
                                                      Objects)



                                      IN DI CTME N T

       The Grand Jury charges that:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, NICHOLAS L.

KENNEDY, also known as "Nick," committed and attempted to commit an act to obstruct,

impede, and interfere with a law enforcement officer, that is, an officer from the United States

Capitol Police, lawfully engaged in the lawful performance of his/her official duties incident to
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